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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 BEIJING CHOICE ELECTRONIC                        )
 TECHNOLOGY CO., LTD.,                            )
                                                  )
             Plaintiff,                           )
 v.                                               )      Civil Action No. 1:18-cv-00825
                                                  )      Honorable Sara L. Ellis
 CONTEC MEDICAL SYSTEMS USA INC. and              )
 CONTEC MEDICAL SYSTEMS CO., LTD.,                )      Jury Trial Demanded
                                                  )
             Defendant.                           )
                                                  )

                                 NOTICE OF MOTION

        PLEASE TAKE NOTICE that on Wednesday, January 9, 2018 at 9:45 a.m. or as soon

 thereafter as counsel may be heard, counsel for Defendants Contec Medical Systems USA and

 Contec Medical Systems Co., Ltd. (“Contec”) shall present its accompanying Motion to

 Withdraw Nicholas Lockhart as Counsel for Contec.



 Dated: January 4, 2019                  Respectfully submitted,

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                                   Attorneys for Defendant Contec Medical Systems
                                   USA Inc. and Contec Medical Systems Co., Ltd.




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                              CERTIFICATE OF SERVICE

        The undersigned certifies that all counsel of record who have consented to electronic

 service are being served with a copy of this document via the Court’s CM/ECF system per

 Local Civil Rule 5.5 on January 4, 2019.

                                            /s/ Christopher C. Campbell
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